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                       IN THE UNITED STATES DISTRICT COURT

                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                          CRIMINAL NO.22.

                Y                                 DATE FILED:

JOSEPH RAYMOND BERGER                             VIOLATIONS:
JOSEPH PAUL BERGER                                18 U.S.C. $ 922(o) (possession of a
                                                  machinegun - I count)
                                                  26 U.s.C. $$ 58a5(a)(6), s86l(d), and 5871
                                                  (possession of a non-registered firearm
                                                  (machinegun) - I count)
                                                  26 U.S.C. $$ 58a5(aX7),5861(d)' and 5871
                                                  (possession of a non-registered firearm
                                                  (suppressor) - I count)
                                                  Notice of forfeiture

                                        INDICTMENT

                                         COU]IT ONE

THE GRAND JURY CHARGES THAT:

              From in or about November 2015 through on or about January 27,2021, in

Bethlehem, in the Eastem District of Pennsylvania, defendants

                            JOSEPH RAYMOND BERGER and
                                JOSEPH PAUL BERGER

knowingly possessed   a machine gun, as defined   by Title 18, United States Code, Section

921(a)(23), and Title 26, United States Code, Section 5845(b), that is, one or more ofthe

following: l) an l.O. Inc., model Casar, 7.62x39mm caliber machinegun, bearing serial number

01521 8; 2) an I.O. Inc., model Sporter, 7.62x39mm caliber machinegun, bearing serial number

024495:3) an LO. lnc., model Casar, 7.62x39mm caliber machinegun, bearing serial number

015322;4) an I.O. Inc., model Casar,7.62x39mm caliber machinegun, bearing serial number

015170; 5) an I.O. Inc., model Casar, 7.62x39mm caliber machinegun, bearing serial number
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015330; 6) an I.O. lnc., model Sporter, 7.62x39mm caliber machinegun, bearing serial number

024497:7) anI.O. Inc., model Casat,7.62x39mm caliber machinegun, bearing serial number

015269:8) a RomArm, model AES l0B, 7.62x39mm caliber machinegun, bearing serial number

YR24951976;9) a Century Arms, model C308 Sporter, .308 Winchester caliber machinegun,

bearing serial number C308E05131; l0) a Century Arms, model C308 Sporter, .308 Winchester

caliber machinegun, bearing serial number C308E10500; I 1) a Nodak Spud, model NDS-M92'

7   .62x19mm caliber machinegun, bearing serial number V000450; 12) a MKE, Model Z5-P,

9mm Luger caliber machinegun, bearing serial number T0624-l5BK0l915; and 13) a MKE,

Model Z5-P, 9mm Luger caliber machinegun, bearing serial number T0624-15BK02008.

                In violation of Title 18, United States Code, Section 922(o).




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                                         COUNT TWO

THE GRAND JURY FURTHER CHARGES THAT:

                From in or about November 2015 through on or about January 27,2021, in

Bethlehem, in the Eastem District ofPennsylvania, defendants

                             JOSEPH RAYMOND BERGER and
                                 JOSEPH PAUL BERGER

knowingly possessed    a machinegun as defined   by Title 18, United States Code, Section

921(a)(23) and Title 26, United States Code, Section 5845@), that is, one or more of the

following:   1) an I.O. Inc., model Casar, 7.62x39mm caliber machinegun, bearing serial number

015218;2) an I.O. Inc., model Sporter, 7.62x39mm caliber machinegun, bearing serial number

024495;3) an I.O. Inc., model Casar,7.62x39mm caliber machinegun, bearing serial number

015322;4) an I.O. Inc., model Casar,7.62x39mm caliber machinegun, bearing serial number

015170; 5) an l.O. Inc., model Casar,7.62x39mm caliber machinegrm, bearing serial number

015330; 6) an LO. Inc., model Sporter, 7.62x39mm caliber machinegun, bearing serial number

024497;7) an I.O. Inc., model Casal7.62x39mm caliber machinegun, bearing serial number

015269;8) a RomArm, model AES 10B, 7.62x39mm caliber machinegun, bearing serial number

YR24951976;9) a Century Arms, model C308 Sporter, .308 Winchester caliber machinegun,

bearing serial number C308805131; 10) a Century Arms, model C308 Sporter, .308 Winchester

caliber machinegun, bearing serial number C308E 1 0500;     11   ) a Nodak Spud' model NDS-M92,

7   .62x39mm caliber machinegun, bearing serial number V000450; 12) a MKE, Model Z5-P,

9mm Luger caliber machinegun, bearing serial number T0624-15BK01915; and l3) a MKE,

Model Z5-P, 9mm Luger caliber machinegun, bearing serial number T0624-15BK02008, not

registered to the defendants in the National Firearms Registration and Transfer Record, as

required by Title 26, United States Code, Section 5841.


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               In violation of Title 26, United States Code, Sections 5845(a)(6), (b), 5861(d),

and 5871.




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                                          COUNT THREE

TIIE GRAND JURY FURTI{ER CHARGES THAT:

               From in or about December 2020 through on or about January 27,2021, in

Bethlehem, in the Eastem District of Pennsylvania, defendants

                               JOSEPH RAYMOND BERGER and
                                   JOSEPH PAUL BERGER

knowingly possessed   a   firearm as defrned in Title 26, United States Code, Section 5845(a)(7),

that is, one or more of -twelve separate silencers, more specifically described as any device for

silencing, muffling, and diminishing the report of a portable hrearm, including any combination

of parts, designed or redesigned, and intended for use in assembling or fabricating a firearm

silencer or firearm muffler, and any part intended only for use in such assembly or fabrication,

which were not registered to the defendants in the National Firearms Registration and Transfer

Record, as required by Title 26, United States Code, Section 5841-

               In violation of Title 26, United States Code, Sections 58a5(a)(7), 5861(d), and

5871.




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                                  NOTICE OF F ORFEITURE

THE GRAND JURY FURTHER CHARGES THAT:

               As a result of the violations of Title 1 8, United States Code, Sections 922(o) and

Tilde 26, United States Code, Section 5861(d), set forth in this indictment, defendants

                              JOSEPH RAYMOND BERGER and
                                  JOSEPH PAUL BERGER

shall forfeit to the United States of America the firearms involved in the commission of these

offenses, including, but not limited to:

               l.       an I.O. Inc., model Casar, 7.62x39mm caliber machinegun, bearing serial
nurnber 015218;

               2.       an I.O. lnc., model Sporter, 7.62x39mm caliber machinegun, bearing
serial number 024495;

               3.       an I.O. Inc., model Casar, 7.62x39mm caliber machinegun, bearing serial
number 015322;

               4.       an I.O. lnc., model Casar, 7.62x39mm caliber machinegun, bearing serial
number 015170;

               5.       an I.O. Inc., model Casar,   7   .62x39mm caliber machinegun, bearing serial
number 015330;

               6.       an I.O. Inc., model Sporter, 7.62x39mm caliber machinegun, bearing
serial number 024497;

                7.      an I.O. Inc., model Casar,   7   .62x39mm caliber machinegun, bearing serial
number 015269;

                8.    RomArm, model AES 10B, 7.62x39mm caliber machinegun, bearing
                        a
serial number VR2495197 6;

                9.   a Century Arms, model C308 Sporter, .308 Winchester caliber
machinegun, bearing serial number C308805 I 31 ;

                10.     a Century Arms, model C308 Sporter, .308 Winchester caliber
machinegun, bearing serial number C308E 1 0500;




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             1   I   . Nodak Spud, model NDS-M92,7 .62x39mm caliber machinegun,
                         a
bearing serial number V000450;

             12.   MKE, Model Zs-P, 9mm Luger caliber machinegun, bearing serial
                         a
number T0624-15BK01915;

             13.    MKE, Model Z5-P, 9mm Luger caliber machinegun, bearing serial
                         a
number T0624-1 5BK02008; and

             14.         twelve separate firearm silencers described as follows:

                         a-     asix inch black colored solvent trap firearm silencer, with no serial
                                number;

                         b.     a six inch black colored solvent trap firearm silencer,     with no serial
                                number;

                         c,     asix inch black colored solvent trap firearm silencer, with no serial
                                number;

                         d.     a firearm silencer constructed   fiom  black and orange colored
                                                                        a
                                Fram oil filter, with no serial number;

                         e.     a firearm silencer constructed   fiom   a black colored   oil filter, with
                                no serial number;

                         f.     afirearm silencer constructed from a Super Tech 5T3506 oil filter,
                                with no serial number;

                                a firearm silencer constructed from a black colored       oil frlter, with
                                no serial number;

                         h.     a firearm silencer constructed from a black colored       oil filter, with
                                no serial number;

                         i.     a firearm silencer constructed from a black colored       oil filter, with
                                no serial number;

                         j.      a firearm silencer constructed from a black colored      oil filter, with
                                 no serial number;

                         k.      a firearm silencer constructed from a black colored      oil filter, with
                                 no serial number; and

                         L       afirearm silencer constructed from an orange colored Fram
                                 PH3976A oil filter, with no serial number.


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              All   pursuant to Title 26, United States code, Section 5872, Title 28, United States

Code, Section 2461(c), and Title 18, United States Code, Section 924(d)'

                                                      A TRUE BILL:




                                                      GRAND JURY FOREPERSON
                                   /1n
                                   a/
JENNIFER ARBITTIER
United States Attorney




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 No

 UNITED STATES DISTRICT COURT

                       Eastern District of Pennsylvania
                               Criminal Division


                  THE UNITED STATES OF AMERICA
                                                    \ s.
               .IOSEPH ITAYMOND BER(;TJ,R
               .IoSEPH PATIL BE,I{(; ER

                                    INDICTMENT
                                         Co   u   nts
l8 U.S.C. $ 922(o)   (possession    ofa machinegun
                                               - I count)
26 U.S.C. SS 5845(a)(6), 5861(d), and 5871 (possession of non-registered
firearms - I count)
26 U.S.C. $$ 58a5(a)(7), 5861(d), and 5871 (possession ofa non-registered
suppressors - I count)

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                                        A true bill.
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                                                                                    Case 5:22-cr-00033-EGS Document 1 Filed 02/01/22 Page 9 of 9




                      r                                    A.D.20
                                          Clerk


                          Bail. $
